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EXHIBIT 12
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Westlaw.

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(Cite as; 2008 WL 4449651 (E.D.Mich.))

Only the Westlaw citation is currently available,

United States District Court,
E.D. Michigan,
Southern Division.
Ann RODRIGUEZ and Patricia Adams, Plaintiffs,
v.
DUE PROCESS OF MICHIGAN, INC.; Robert J.
Reznick; Robert McKenna; and Ken Patterson., Defend-
ants.

No. 07-CV-12578-DT.
Sept. 30, 2008.

West KeySummaryFederal Civil Procedure 170A
2491.5

170A Federal Civil Procedure
170AXVII Judgment
17OAXVII(C) Summary Judgment
17OAXVIM(C)2 Particuiar Cases
170Ak2491.5 k. Civil Rights Cases in Gen-
eral, Most Cited Cases
Owner of process serving business could be found
liable for plaintiff's civil rights claim against his servers
under the doctrine of respondeat superior. The plaintiff
stated that the server calied the owner while executing
the order te seize property. The plaintiff did not dispute
that the owner was not present at her home when the or-
der was executed, The defendants denied that any phone
call was made. Because a genuine issue of material fact
existed as to the owner's role, the claim was allowed to
proceed. 42 U.S.C.A. § 1983; Fed. Rules Civ.Proc.Rule
56(c), 28 U.S.C.A.

Rex C. Anderson, Davison, MI, James R. Shaw, Livo-
nia, MI, for Plaintiffs.

Bryan D. Marcus, Southfield, MI, Jeffrey M. Weber,
Weber & Olcese, Troy, MI, Richard A. Hamilton, Flint,
MI, Samuel H. Gun, Sylvan Lake, MI, for Defendants.

OPINION AND ORDER GRANTING, IN PART, AND

Page |

DENYING, IN PART, ROBERT REZNICK'S AND DUE
PROCESS OF MICHIGAN'S MOTION FOR SUM-
MARY JUDGMENT

GERALD E. ROSEN, District Judge.
I, INTRODUCTION

*1 This is a multi-count action brought by Plaintiffs
Ann Rodriguez and her 21-year-old daughter, Patricia
Adams, seeking damages for alleged tortious acts of
process servers in executing an Order to Seize Property
issued by the 71-A District Court in Lapeer County,
Michigan. The matter is presently before the Court on
Defendants Robert Reznick’s and Due Process of
Michigan, Inc.'s Motion for Summary Judgment [Dkt. #
95]. There is also before the Court a motion filed by
Plaintiffs complaining about the conduct of Defendant
Robert Reznick and his attorneys during the course of
discovery in this matter, which the Court construes as a
motion for discovery sanctions. Having reviewed
and considered the parties’ briefs and supporting evid-
ence, the Court has determined that oral argument is not
necessary. Therefore, pursuant to Eastern District of
Michigan Local Rule 7.1(e)(2), this matter will be de-
cided on the briefs. This Opinion and Order sets forth
the Court's ruling.

FN1. This motion is captioned “Plaintiffs' Mo-
tion to Advise the Court of Defendant
Reznick's Fraudulent and Obstructionist Con-
duct and Requested [sic] that He Present Him-
self for Deposition for Matter He Did Not
Testify Truthfully About or Concealed and for
Discovery of Matters He Testified Untruthfully
About and Failed to Disclose.” [docketed as a
“Motion for Sanctions” at Dkt. # 81].

IL, PERTINENT FACTS

PLAINTIFF ADAMS' DEFAULT ON HER CAR LOAN
AND THE PROCEEDINGS TO COLLECT ON HER IN-
DEBTEDNESS

Plaintiff Patricia Adams financed the purchase of a
used car through Credit Acceptance Corporation
(“CAC”). The car allegedly broke down shortly after
the purchase and Plaintiff Adams ceased making pay-
ments on the note.

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CAC thereafter retained the law firm of Weber &
Olcese, PLC, and the firm filed suit against Plaintiff
Adams to coliect on the defaulted note in the 71-A Dis-
trict Court in Lapeer, Michigan on January 11, 2006.
Adams did not answer the complaint and Weber & Ol-
cese properly filed an application for default judgment
and obtained a judgment on March 1, 2006. ~ On
April 11 and May 10, 2006, the firm filed two requests
for periodic garnishment that were issued and served on
Plaintiff Adams’ employers. The judgment not being
satisfied by the garnishments, Weber & Olcese submit-
ted a Request for Order to Seize Property (a/k/a “writ of
execution”) to the 71-A District Court. The writ of exe-
cution was filed and signed by the 71-A District Court
Judge on August 17, 2006.

FN2. The default judgment was in the principal
amount of $9,607.55.

Weber & Olcese made the request for Order to
Seize Property on a standard Michigan State Court Ad-
ministrative Office (“SCAO”) form. [See Defendants’
Ex. 3.] Carol Anthony, a former Weber & Olcese em-
ployee, testified that she was the person who prepared
the Request for Order to Seize Property form. Below the
blank provided on the form for “Order to be Served By”
is printed “Court officer/Deputy Sheriff.” Ms. Anthony
testified that although Weber & Olcese frequently util-
ized the services of Defendant Robert Reznick to ex-
ecute seizure orders, she did not put his name in the
“Order to be Served By” space on the form in this case.
Instead, she circled “Deputy Sheriff’ and also hand
wrote “Deputy Sheriff” in the space provided. Ms. An-
thony explained that while some courts are “open”
courts and allow parties requesting the issuance of an
Order to Seize Property to select their process servers
themselves and fill in the name of the person they want
to serve the Order, the 71-A District Court in Lapeer is
a “closed” court and does not permit this.

FN3. Ms. Anthony testified that although she
did not fill in any name on the form, she be-
lieved that Defendant Reznick would be the
person who would be assigned to serve the or-
der because she knew that Reznick frequently
worked in Lapeer County and he had told her

Page 2

that “he knew people there.” [Anthony Dep., p.
91.]

DEFENDANTS McKENNA AND REZNICK'S AP-
POINTMENT AS COURT OFFICERS TO EXECUTE
JUDGMENTS

¥2 Until some time in 2003 or 2004, the 71!-A Dis-
trict Court required that all writs of execution be served
by Deputy Sheriffs. [See Deposition of Robert McK-
enna, Defendants' Ex. 5, p. 70]. Hence, it was not un-
common for lawyers seeking writs of execution in
Lapeer County to indicate that the order was to be
served by a deputy sheriff. Jd. at p. 74. The Sheriff's
Department, however, decided some time in 2003 or
2004 that, due to lack of manpower, it was no longer
able to do seizures or evictions. [Deposition of Gregory
Wise, Plaintiffs Ex. K, p. 48.] The Lapeer District
Court, therefore, decided to “privatize” the function,
and took advantage of the Michigan Statutes and Court
Rules allowing the court to appoint its own “Court Of-
ficers.” id.; see also McKenna Dep. p. 70.

FN4. See M.C.L. § 600.1801; M.C_R. 3.106(B).

According to Defendant Robert McKenna, when
Lapeer decided to privatize, he and Robert Reznick ar-
ranged a meeting with the Lapeer County Chief Judge,
the Honorable Nick O. Holowka, whom McKenna and
Reznick knew from Judge Holowka's time as a county
prosecutor. (At that time, McKenna was a Michigan
State Police Trooper and Reznick was a Lapeer County
Deputy Sheriff.) They told the Judge that they were in-
terested in applying to be Court Officers and Judge
Holowka agreed toe appoint them. [McKenna Dep. pp.
72-73.] They each obtained and presented a bond to the
Court, signed an “Independent Contractor Agreement
for Court Officer,” see Plaintiffs' Ex. N, and they were
appointed as Court Officers for the 71-A District Court
approximately three weeks later. /d. at p. 73.

As provided in his Court Officer Agreement, McK-
enna received no salary or wages from the court. For his

services, he was paid only the statutory fees as provided

in M.C.L. §§ 552.23; 600.2555; and 600.2559, At_the
time, these statutes provided for payment of $27.00,”
plus mileage, plus the actual and reasonable expense for

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seizing and storing any property seized, and a fixed per-
centage of any monetary seizure or the proceeds of any
sale of property-7% of the first $5,000.00 and 3% of
any amount exceeding the first $5,000.00.

FN5. The statutory fee has since been increased
to $32.00.

McKenna testified that it was his understanding that
in 2006, the 71-A District Court used a “rotation” sys-
tem for assignment of seizure orders to the Court Of
ficers for execution. His own personal practice was
to either personally pick up, or have his son-in-law, De-
fendant Kenneth Patterson, a sales person who was in
Lapeer three or four times a day, pick up orders from
the court for him to execute, and bring them to his home
in Davison, Michigan. Jd. at p. 109; see_also Patterson
Dep., Defendants’ Ex. 6, pp. 34-37. McKenna
would then endorse the orders and proceed with execu-
tion. One of the Orders Patterson picked up and de-
livered to McKenna was the Order to Seize Property to
satisfy CAC's Judgment against Patricia Adams.

FN6. Gregory Wise, who became the 71-A Dis-
trict Court administrator in June 2007, testified
that after he became court administrator, some
Court Officers complained that they were not
getting their proper share of the work. [Wise
Dep., Plaintiff's Ex. L, p. 26.] He said he
sensed that the court clerks were taking it upon
themselves to decide to whom each writ should
be assigned. 7d. Therefore, he changed the pro-
cedure and testified that he instructed the court
clerks that they are to give the list of approved
Court Officers to the plaintiffs or the plaintiffs’
attorneys and have thein tell the court who they
wanted to use to execute the orders. fd,

FN7. Patterson also assisted McKenna when he
executed seizure orders as permitted under
McKenna's contract with 71-A District Court.
See Plaintiff's Ex. N, § 6.2. Patterson explained
that he worked his day job, as a Schwepps
beverages salesperson, and also would assist
with writs of execution when he had time in the
evening. [Patterson Dep., pp. 18-21.] Patterson

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also testified that he has also helped Rob
Reznick with writs of execution, doing so per-
haps once a month, /d. at p. 18.

FN8. It is unexplained why the Court's
“Register of Actions” on the 4dams case indic-
ates “Papers to Rob Reznick.” See Plaintiffs’
Ex. 6. McKenna surmises that he was given the
Order simply because he was next in line under
the rotation system he believed was used by the
Court at the time. Gregory Wise, the current -
court administrator at the 71-A District Court,
testified that the court's only concern was that
the Order be served by someone on the list of
' duly appointed Court Officers and since both
Reznick and McKenna were on the list and
“srouped”on: the list along with another Court
Officer, King, under the business name “Due
Process of Michigan,” there would be no pro-
hibition against McKenna serving the Order,
adding that it was, therefore, not uncommon for
one of these three officers’ names [Reznick,
McKenna or King] to appear on the register
only to have the Order served by one of the
other two. [See Wise Dep., pp. 34-35.] In any
event, it is undisputed that Reznick never re-
ceived the Adams seizure order and did not ex- _
ecute it; McKenna and Patterson did.

SERVICE OF THE ORDER TO SEIZE PROPERTY
UPON PLAINTIFF ADAMS

At 8:30 p.m. on September 5, 2006, Defendants
McKenna and Patterson served the Order to Seize Prop-
erty on Patricia Adams at her home in North Branch,
Michigan. Ms. Adams claims that Defendants an-
nounced that they were sheriff's deputies and that they
wanted to talk to her inside the house. [Adams' 11/1/07
Affidavit, Plaintiffs’ Ex. 3, 49 4 and 5.] 'N!° she at-
leges that, once inside the house, McKenna showed her
the Order to Seize Property, id. 1 7, demanded money,
and threatened to take all of the personal property in the
house to satisfy her default judgment. fa. J] 8, 10.
Adams also claims that McKenna told her that “their
boss, Reb Reznick, had instructed them to get some
money to satisfy the debt.” Jd. { 8. (As discussed below,

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McKenna and Reznick both deny that Reznick was
McKenna's “boss.” They both, in fact, testified, that
Reznick played no part in executing the seizure order at
issue in this case.) She further alleges that she and her
three siblings were ordered to remain in the kitchen area
of the house, and that McKenna and Patterson
threatened to have them arrested if she did not give
them some money. Id. 1] 14.

FN9, This is the address given on the 71-A
District Court papers as Patricia Adams’ resid-
ence, and it is undisputed that Ms. Adams was
living there at the time. The home, however,
was apparently owned by Ms. Adams’ mother,
Ann Rodriguez. See Adams Affidavit,
Plaintiffs’ Ex. 3, 7 3.

FNI1G. It is unknown whether either Plaintiff
Adams or her mother, Ann Rodriguez, were
ever deposed in this case as none of the parties
has submitted a copy of, or any excerpt from,
any such deposition.

FN11. This demand was in accordance with the
terms of the Order to Seize Property. The Order
explicitly provided, in pertinent part:

TO ANY SHERIFF, DEPUTY SHERIFF,
OR COURT OFFICER-YOU ARE
ORDERED TO:

1. Seize and sell, according to law, any of the

‘personal property (as determined by the of-
ficer} of defendant(s} named above in the Re-
quest and Verification that is not exempt
from seizure as will be sufficient to satisfy
plaintiffs demand, costs, any statutory fees
and expenses. Personal property may in-
clude, but is not Hmited to, motor vehicles or
money, wherever located.

[Defendants’ Ex. 3.]

*3 Ultimately, Adams' 18-year-old boyfriend, Jacob
Schlaud, appeared and gave Adams $200 he allegedly
borrowed from his family to give to McKenna and Pat-
terson. /d, 4 18. Plaintiff claims that McKenna informed

Page 4

her that $200 was not enough. Jd. at | 18. Mrs. Rodrig-
uez, who was not present when McKenna and Patterson
had arrived at the house, then returned home and al-
legedly offered to give McKenna a post-dated check. Jd.
at 19. According to Adams, McKenna said he would
“have to check with his boss, Mr, Reznick, before he
could accept the offer of payment by post-dated check.”
Id, at 20. McKenna then allegedly called Reznick who
supposedly instructed him to demand that the post-dated
check be in the amount of $400. (As indicated, both
McKenna and Reznick deny any participation on
Reznick's part and further deny that any telephone call
was ever made to him regarding the post-dated check
payment of $400 or anything else concerning the execu-
tion. See McKenna Dep., p. 236.) Mrs. Rodriguez com-
plied and made out a check dated the next day for $400,
and gave it to the men. /d. at 22. McKenna, in turn, °
gave Adams a Receipt for Execution Against Property

‘indicating the payment of $600-$400 by check and $200

in cash. See Plaintiffs’ Ex. P. Ms. Adams aiso agreed in
writing to make additional bi-weekly payments of $150
starting September 19, 2006 until the total Judgment is
paid in full. Jd ""~ McKenna and Patterson then left
the house, Id. Later McKenna filled out, signed and sub-
sequently filed with the court an SCAQ Partial Payment
Receipt form. (See Defendants’ Ex. 8.]

FNI2. The Receipt for Execution Against
Property and future payment agreement was
signed by both McKenna and Adams. Pre-
printed instructions on this Receipt direct that

Payments are to be postal money orders only
and made out and sent to:

Rob Reznick
P.O. Box 4148
Flint, MI 48504-0148

However, Adams has made no payments
whatsoever after paying $600 .00 on the date
of execution of the Order to Seize Property.

FN13. The receipt also indicates that McKenna
collected $600 from plaintiff Adams: $200 in

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cash, and $400 in the form of a check.

DUE PROCESS OF MICHIGAN, INC.

Due Process of Michigan, Inc. (“DPM”) was incorpor-
ated in 1993. Robert Reznick is listed as the company's
registered agent in the records on file with the Michigan
Department of Labor, Corporation Division. [Available
on WESTLAW, Michigan Corporate Records & Busi-
ness Registration (CORP-MI) Database.] Jeffrey Weber
testified that he believed Mr. Reznick to be “an owner
of Due Process.” [Weber Dep., Plaintiffs’ Ex. C, p.
101.] Ken Patterson testified that he knows DPM to be
“Rob Reznick's company” and that it is “his business he
runs for doing his court work.” [Patterson Dep., De-
fendants' Ex. 6, p. 20.]

(business address)

(city, state, zip)
(business)

(pager)
(business fax)
(home address)

(city, state, zip)
(tax ID# )

[Plaintiff's Ex. N.]

The Flint Post Office Box address iisted as McK-
enna's business address on his Court Officer Agreement,
however, is actually the address Robert Reznick uses
for “Due Process of Michigan.” [See Reznick Dep., De-
fendants' Ex. 10, pp. 186-87.] The business phone num-
ber is also that of DPM. [See Plaint:ffs' Ex. P.] The
pager number listed is Robert Reznick's pager number, [
See Plaintiffs' Ex. P; see also Plaintiffs’ Motion for
Sanctions, Ex. 11.] As for the home address, McKenna
testified that he lives in Davison, Michigan, not Swartz
Creek. [See McKenna Dep., Defendants’ Ex. 5, p. 109.]
“5184 Oakhill Drive, Swartz Creek, Michigan” is
Reznick's address. [See Corporate record of Due Pro-
cess of Michigan, Inc., available on WESTLAW,
Michigan Corporate Records & Business Registration
(CORP-MI) Database. ]

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Robert McKenna's Independent Contractor Agreement
with the 71-A District Court indicates that McKenna
was ‘doing business as Due Process of Michigan, Inc.”
at the time of his gppgintment as a Court Officer. [See
Plaintiffs’ Ex. N.] The Agreement lists the follow-
ing as McKenna's business and home addresses and
phone numbers:

FN14, Although presumably Defendant
Reznick also has a contract with the 71-A Dis-
trict Court, a copy of his contract has not been
provided to the Court.

’ P.O. Box 4148

Flint, MI 48504-0148
810-430-1111
586-470-1335
810-530-3333

5184 Oakhill Dr.
Swartz Creek, MI 48473

XX-XXXXXXX

*4 Gregory Wise testified that three Lapeer 71-A
Court Officers are listed on the Court's approved Court
Officer list under the heading “Due Process of
Michigan”-Robert McKenna, Robert Reznick and Eric
King. [Wise Dep., Pi.'s Mtn. to Join Defendants, Ex. 1,
p. 23.] Wise testified,

I believe they all work for or under Due Process of
Michigan. That's their business name. J don't know
whether it is incorporated [or a] partnership, but that's
the business name they usé....

* * *
... [M]y understanding was that they do business as
Due Process or are employees of Due Process, but the
business name Due Process includes the three of them

as individuals.
Id.

Wise also testified that all of the orders to seize

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property which may be assigned to either McKenna,
Reznick or King are placed in a mailbox in the lobby of

the first floor of the courthouse marked “Due Process.” ..

id. at 42. Ken Patterson testified that the box in the
Lapeer District Court from which he would pick up
writs of execution for McKenna was labeled “Due Pro-
cess.” (Patterson Dep., p. 37.]

Notwithstanding the d/b/a reference in the Court
Officer Agreement, the use of DPM's and Reznick’s ad-
dresses and phone numbers, and the label on the mail-
box in the 71-A District Court, Mr. McKenna testified
be. was not an employee of DPM or Robert Reznick.

FN15. Carol Anthony, a former employee of
Weber & Olcese, testified that she believed that
Robert McKenna “worked under Robert
Reznick” but when questioned as to the basis
of her belief she was very vague and unable to
provide substantiation. [See Anthony Dep.,
Plaintiffs' Ex. H, pp. 110-i11.]

Although he denied having any employer-employee
relationship with DPM, McKenna did acknowledge that
he had “a working relationship with Mr. Reznick,” and
admitted that he would on occasion “help [Reznick]
out” with his [Reznick's] executions. [McKenna Dep.,
p. 148, 64.] He also explained that he routinely engaged
Reznick's services for the paperwork entailed with his
[McKenna's] executions,

A: He [Reznick]'s been in the business, he’s estab-
lished as far as record keeping, the bookkeeping and
everything else. So what happens is I take the paper-
work, I give it to Mr. Reznick, Mr. Reznick takes [the
money I collected] and signs-or makes out the check
[for the amount of money | collected}, sends it to the
plaintiff's attorney, he keeps the paperwork, and then
I pay him for those services.

* eK

Q: So on orders to seize property-and I think you test-
ified Mr. Reznick never helps you to execute orders
to seize property that have been assigned to you?

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A: That's right.

Q: However, when you take the money, you turn over
60 percent of the money to Mr. Reznick to do book-
keeping?

A: Forty percent to do bookkeeping.
Q: You give him 40 percent to do bookkeeping?

A: And to track payments. That's a big job right there,
tracking payments.

Q: And to track payments. How does Mr. Reznick
track payments?

A: The people that we do the writs on, if we put them
on a payment plan, they are given-they have to make
bi-weekly payments of whatever we agree upon.
Those bi-weekly payments are mailed to Rob Reznick
at his post office box. He takes them, he logs them in,
he sends the money on to the attorney and he keeps
all [the records.]

*5 [McKenna Dep., pp. 148-49.]

Robert Reznick's testimony is consistent with McK-
enna’s:

A: I do the accounting and paperwork for Mr. McK-
enna when he does writs of execution. We run the
money through Due Process of Michigan, send the
checks to the plaintiffs attorney, and I am com-
pensated for that.

Q: How much are you compensated for that?
A: Approximately 40 percent of the costs,

Q: And when you say 40 percent of the costs, what do
you mean?

A: Mr. McKenna fills out a receipt on a writ of execu-
tion and fills in what the costs are, the service fee, the
mileage fee, the percentage, whatever it was, the man
hours, whatever additional expenses there are, and
then they pay themselves out of that writ and then
they turn the plaintiffs money and the 40 percent,

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what is left out of the costs, over to me.
[Reznick Dep., Defendants’ Ex. 10, pp. 56-57.]

Reznick testified that he provides bookkeeping and
payment tracking services for a number of Court Of-
ficers and, in return, as with the arrangement with McK-
enna, he receives from them 40 percent of the statutory
percentage. [Reznick Dep., Plaintiffs’ Ex. H, pp.
160-162.]

PLAINTIFFS' COMPLAINT

On May 24, 2007, Plaintiffs Ann Rodriguez and Pa-
tricia Adams filed a 15-Count Verified Complaint for
damages in the 71-A District Court in Lapeer, Michigan
naming as party-defendants, Credit Acceptance Corpor-
ation, the financers of the car purchased by Plaintiff
Adams, Weber & Olcese, PLC, the law firm retained by
CAC; NI6 Due Process of Michigan, Inc. and its own-
er, Robert_J, Reznick; and Robert McKenna and Ken
Patterson. The case was timely removed to this

Court on federal question grounds on June 15, 2007.

FN16. CAC and Weber & Olcese are no longer
parties to this action. CAC was dismissed from
this action by stipulated order on November 19,
2007. Plaintiffs settled with Weber & Olcese
on September 17, 2008.

FNI7. By leave of Court, Plaintiffs’ filed an
Amended Complaint on March 3, 2008 to add

two additional defendants, the 71-A District

Court and Gladwin County. (A Second
Amended Complaint was filed on April 10,
2008 to correct typographical errors.) These
two additional defendants, however, were dis-
missed by stipulated orders on June 24 and
September 9, 2008, respectively.

Plaintiffs allege in their Complaint that Ms. Rodrig-
uez, Ms. Adams, and their entire family were “severely
traumatized” by the conduct of Mr. McKenna and Mr.
Patterson on September 5, 2006. Specifically, Plaintiffs
complain that McKenna and Patterson “harassed, ab-
used and oppressed” them in executing the Order the
Seize Property. Plaintiffs allege that McKenna and Pat-

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terson “gained entry into the Rodriguez home by trick-
ery and deceit by falsely causing Adams to believe that
they were Sheriff's deputies on law enforcement busi-
ness, threatened te confiscate furniture belonging to the
non-debter, Rodriguez, refused to leave the premises
despite numerous requests to do so, and extorted money
from non-debtors, Rodriguez and Schlaud, as a condi-
tion of leaving the premises and not wrongfully confis-
cating Rodriguez's personal property.” [Second
Amended Complaint, § 50.] Plaintiffs further allege that
Reznick, on behalf of Due Process, sent McKenna and
Patterson to execute the Order to Seize as Due Process.

As theories of recovery, Plaintiffs allege a claim of
violation of their civil rights under 42 U.S.C. § 1983
against all of the defendants (Count J); a claim of viola-
tion of the Michigan Consumer Protection Act, against
all defendants (Count HI); FNI claims of conspiracy in
violation of 42 U.S.C. § 1985 (Count IV) and in viola-
tion of state law (Count V); state common law claims of
trespass (Count VJ), fraud (Count VII), abuse of process
(Count VII), false imprisonment (Count IX), intention-
al inflection of emotional distress (Count X), intrusion
(Count XI), conversion of money (Count XII), and ex-
tortion and threats (Count XIID; violation of the
Michigan Occupational Code (Count XIV); and viola-
tion of the Michigan Debt Collection Practices Act
(Count XV). All of these state law claims in Counts II,
and V-XV are asserted “Defendants, in their individual
and representative capacities,” collectively.

FN18. Plaintiffs’ Second Amended Complaint
also contained a Count II alleging a claim of
violation of the Fair Debt Collection Practices
Act (the “FDCPA”) against Defendants CAC
and Weber & Olcese, only. However, as neither
CAC nor Weber & Olcese are any longer
parties in this action, Plaintiffs’ Count Ii claims
against them will be dismissed.

*6 Defendants Robert Reznick and Due Process of
Michigan now move for summary judgment on all of
Plaintiffs' claims against them.

TH. DISCUSSION
A. STANDARDS APPLICABLE TO MOTIONS FOR

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SUMMARY JUDGMENT

Summary judgment is proper “ ‘if the pleadings,
depositions, answer to interrogatories, and admissions
on file, together with the affidavits, if any, show that
there is no genuine issue as to any material fact and that
the moving party is entitled to judgment as a matter of
law.’ * Fed.R.Civ.P. 56(c).

Three 1986 Supreme Court cases- Matsushita Elec-
trical Industrial Co. v. Zenith Radio Corp., 475 US.
574, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986); Anderson
v, Liberty Lobby, Inc., 477 U.S. 242, 106 S.Ct. 2505, 91
L.Ed.2d 202 (1986); and Celotex Corp, v. Catrett, 477
U.S. 317, 106 §.Ct. 2548, 91 LEd.2d 265 (1986)-
ushered in a “new era” in the standards of review for a
summary judgment motion. These cases, in the aggreg-
ate, lowered the movant's burden on a summary judg-
ment motion. According to the Celotex Court,

FNI9. “[T]aken together these three cases sig-
nal to the lower courts that summary judgment
can be relied upon more so than in the past to
weed out frivolous lawsuits and avoid wasteful
trials...” LOA C. Wright, A. Miller, M. Kane,
Federal Practice & Procedure 3d, § 2727.

In our view, the plain language of Rule 56(c) man-
dates the entry of summary judgment, after adequate
time for discovery and upon motion, against a party
who fails to make a showing sufficient to establish
the existence of an element essential to that party's
case, and on which that party will bear the burden of
proof.

Celotex, 477 U.S. at 322.

After reviewing the above trilogy, the Sixth Circuit
established a series of principles to be applied to mo-
tions for summary judgment. They are summarized as
follows:

* The movant must meet the initial burden of showing
“the absence of a genuine issue of material fact” as to
an essential element of the non-movant's case. This
burden may be met by pointing out to the court that
the respondent, having had sufficient opportunity for
discovery, has no evidence to support an essential ele-

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ment of his or her case.

* The respondent cannot rely on the hope that the trier
of fact will disbelieve the movant's denial of a dis-
puted fact, but must “present affirmative evidence in
order to defeat a properly supported motion for sum-
mary judgment.”

* The trial court no longer has the duty to search the
entire record to establish that it is bereft of a genuine
issue of material fact.

* The trial court has more discretion than in the “old
era” in evaluating the respondent's evidence. The re-
spondent must “do more than simply show that there
is some metaphysical doubt as to the material facts.”
Further, “[w]here the record taken as a whole could
not lead a rational trier of fact to find” for the re-
spondent, the motion should be granted. The trial
court has at least some discretion to determine wheth-
er the respondent's claim is plausible.

Betkerur v. Aultman Hospital Association, 78 F.3d
1079, 1087 (6th Cir.1996). See also, Street v. J.C. Brad-

ford & Co, 886 F.2d 1472, 1479-80 (6th Cir.1989). The

Court will apply the foregoing standards in deciding the
Defendants' summary judgment motion in this case.

B. PLAINTIFFS STIPULATE TO THE DISMISSAL OF
COUNTS IV AND XIV

*7 As an initial matter, the Court notes that in their
Response Brief, Plaintiffs stipulate to the dismissal of
two counts on which Defendants seek summary judg-
ment-Count ['V, Plaintiffs' claim of conspiracy under 42
U.S.C. § 1985, and Count XIV, Plaintiffs’ claim of viol-
ation of the Michigan Occupational Code. Accordingly,
Defendants’ motion for summary judgment on these two
counts will be granted and the claims asserted by
Plaintiffs therein will be dismissed, with prejudice.

C. PLAINTIFFS' SECTION 1983 CLAIM AGAINST DE-
FENDANTS REZNICK AND DUE PROCESS OF
MICHIGAN

In Count I of their Second Amended Complaint,
Plaintiffs allege a claim of violation of their civil rights
under 42 U.S.C. § 1983 against Defendants Reznick and

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DPM predicated upon the alleged violation of their Due
Process and Fourth Amendment rights by Defendants
McKenna and Robertson in their September 5, 2006 ex-
ecution of the Order to Seize Property.

42 U.S.C. § 1983 provides, in pertinent part:

Every person who, under color of any statute, or-
dinance, regulation, custom, or usage, of any State or
Territory or the District of Columbia, subjects, or
causes to be subjected, any citizen of the United
States or other person within the jurisdiction thereof
to the deprivation of any rights, privileges or im-
munities secured by the Constitution and laws, shall
be liable to the party injured in an action at law, suit
in equity, or other proper proceeding for redress....

Section 1983's purpose is to guard against the
“[mJisuse of power, possessed by virtue of state law and
made possible only because the wrongdoer is clothed
with the authority of state law...” Monroe v. Pape, 365
ULS. 167, 184, 81 S.Ct. 473, 5 LEd.2d 492 (1961)
(quoting United States v. Classic, 313 U.S. 299, 61
§.Ct. 1031, 85 L.Ed. 1368 (1941)). Two elements are
necessary to state a cause of action under 42 U.S.C. §
1983: the plaintiff must plead and prove (1) that some
person has deprived him of a federal right, and (2) that
the person has done so under color of state law. ddickes
v. SH. Kress & Co., 398 U.S. 144, 150, 90 S.Ct. 1598,
26 L.Ed.2d 142 (1970).

As indicated, it is fundamental that only those act-
ing “under the color of law” may incur lability under
42 U.S.C. § 1983. A private party may be only deemed
to be a “state actor” if the party's actions are “fatrly at-
tributable to the state.” See Lugar v. Edmonson Oil Co.,
457 U.S. 922, 937, 102 S.Ct. 2744, 73 L.Ed.2d 482
(1982); see also Black v. Barberton Citizens Hosp.. 134
F.3d 1265, 1267 (6th Cir.1998). Decisions as to whether
a private action may be considered a “state action” are
fact specific and made on a case-by-case basis. There is
no one determining factor, or set of circumstances, that
cause a private action to be per se “under the color of
law;” therefore, a court must look to the specific facts
of each case to reach a decision. Brentwood Academy
vo. Tennessee Secondary School Athletic Ass'n, 531

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U.S. 288, 295-96, 121 S.Ct. 924, 148 L.Ed.2d 807
(2001).

Here, though McKenna and Reznick were appoin-
ted by the 71-A District Court as Court Officers pursu-
ant to Agreements purporting to negate any employer-
employee relationship with the Lapeer County court and
designating them only as “Independent Contractors,”
they may nonetheless be classified as “state actors” for
§ 1983 purposes.

*8 As the Supreme Court made clear in West v.
Atkins, 487 U.S. 42, 108 S.Ct. 2250, 10] L.Ed.2d 40
(1988),

The fact that the State employed [defendant] pursu-
ant to a contractual arrangement that did not generate
the same benefits or obligations applicable to other
“state employees” does not alter the [§ 1983] analys-
is. It is the [defendant]'s function within the state
system, not the precise terms of his employment
that determines whether his actions can fairly be
attributed to the State .

487 U.S. at 55-56, 108 S.Ct. at 2259 (emphasis ad-
ded).

See also Griffin v. Maryland, 378 U.S. 130, 135, 84
§.Ct. 1770, 1773, 12 L.Ed.2d 754 (1964) (“If an indi-
vidual is possessed of state authority and purports to act
under that authority, his action is state action. It ts rel-
evant that he might have taken the same action had he
acted in a purely private capacity....”)

Here, Michigan state law, by statute, directs that

Whenever a judgment is rendered in any court, execu-
tion to collect the same may be issued to the sheriff,
bailiff, or other proper officer of any county, district,
court district or municipality of this state. ,

M.C.L. § 600.6001.

Michigan courts have construed this statute to mean
that only sheriffs, bailiffs or court officers may serve
executions. See In re Fees of Court Officer, 222
Mich.App. 234, 564 N,W.2d 509 (1997) (“While any

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legally competent adult (not a party) may serve a writ of
garnishment, M.C.R. 2.103(A), executions may be
levied only by sheriffs, bailiffs and court officers,
M.C.L. § 600.6001; M.S.A. § 274.6001." 564 N.W.2d
at 514 n. 6.)

In Menken v. 31st District Court, 179 Mich.App.
379, 445 N.W.2d 527 (1989), the Michigan appellate
court explained that the district court has the same su-
pervisory function over court officers appointed to serve
writs requiring the seizure or attachment of property
that it has over any court employee:

A presiding district court judge has complete ad-
ministrative authority as to the functioning of the
court within his judicial district. Along with this au-
thority comes the right to appoint all of the court's
employees and court officers, and the responsibility to
supervise their actions. As such, the presiding judge
is in a position to personally evaluate the diligence,
discretion and integrity of the court officers serving
writs of attachment issued by his court. Accordingly,
the appointing judge retains a measure of supervision
over the service of process and maintains his ability
to insure the sound administration of Justice within
his judicial district.

445 N.W.2d at 529,

Based upon the foregoing authorities, the Court
finds that, as duly-appointed Court Officers of the 71-A
District Court, McKenna and Reznick may properly be
classified as state actors for purposes of the Section
1983 analysis in this case.

1, ISSUES OF FACT PRECLUDE SUMMARY JUDG-
MENT ON PLAINTIFFS’ SECTION 1983 CLAIM
AGAINST DEFENDANT REZNICK

Defendant Reznick does not argue that he was not a
“state actor” but rather that summary judgment should
be entered in his favor on Plaintiffs’ Section 1983 claim
because he claims to have had no involvement with the
execution of the Order to Seize Property. Plaintiffs do
not dispute that Reznick was not present at their home
when Defendants McKenna and Patterson executed the
Order. However, Plaintiff Adams has submitted a sworn

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affidavit in which she states that McKenna calied “his
boss, Rob Reznick” while executing the order to ask
whether he could accept a post-dated check and Reznick
allegedly “instructed” McKenna to demand a check for
$400. See Adams Affidavit, Plaintiffs' Ex. 3, ff 20-21.

*9 Respondeat superior may provide a basis for li-
ability under Section 1983 if the. plaintiff shows “that .
the supervisor encouraged the specific incident of mis-
conduct or in some other way directly participated in it.
“ Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir.1984).
Although both Defendant Reznick and Defendant McK-
enna denied in their depositions that any phone call as
alleged by Plaintiff Adams was made, the Court cannot
resolve such a factual dispute in deciding a summary
judgment motion. This factual dispute, coupled with the
evidence of some kind of a “business relationship”
between Reznick and McKenna, and McKenna's and_
Patterson's admission that they and Reznick sometimes ©
worked together in executing seizure orders persuade
the Court that summary judgment dismissing Plaintiff's
§ 1983 claim against Defendant Reznick would not be
appropriate.

2. ASSUMING McKENNA WAS AN INDEPENDENT
CONTRACTOR OF DPM, THE CORPORATION CAN-
NOT BE HELD LIABLE UNDER § 1983 FOR HIS AC-
TIONS

Plaintiffs also seek to hold DPM liable under §
1983 for the actions of Defendant McKenna and his as-
sistant, Defendant Patterson, in executing the Order to
Seize Property in this case. Their theory is that McK-
enna worked for DPM, either as an employee or an in-
dependent contractor. The evidence, however, does not

bear this out. McKenna's employment-as an independ-

ent contractor-was with the 71-A District Court.

Nonetheless, McKenna admittedly hada business
relationship with DPM. Assuming, without deciding
that this was some sort of “independent contractor” re-
lationship, there is still no legal basis for holding DPM
liable under Section 1983 for McKenna's actions. It is
well-settled that a corporation cannot be vicariously li-
able under § 1983 for the acts of an employee or inde-
pendent contractor. See e.g., Street v, Corr. Corp. of
Am., 102 F.3d 810, 818 (6th Cir,1996); Powel! v.

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Shopco Laurel Co., 678 F.2d. 126, 128 (7th Cir.1982);
Rojas v. Alexander's Dep't Store, Inc., 924 F.2d 406
(2nd Cit.1990)}; Sanders v. Sears, Roebuck & Co., 984
F.2d 972, 975-76 (8th Cir.1993); Dubbs v, Head Start,
Inc., 336 F.3d 1194, 1216 (10th Cir.2003); Harvey v.
Harvey, 949 F.2d 1127, 1129-30 (11th Cir. 1992); Mein-
hart v. Campbell, --- F.Supp.2d ----, 2008 WL 1860273
(W.D.Ky., Apr.24, 2008); Auvaa v. City of Taylorsville,
506 F.Supp. 903, 909 (D.Utah 2007). These cases all
rely on the Supreme Court's holding in Afonell v, De-
partment of Social Serv., 436 U.S. 658, 98 S.Ct. 2018,
56 L.Ed.2d 611 (1978). Though Monell involved a mu-
nicipal corporation, as the Sixth Circuit observed in
Street, “every circuit to consider the issue has extending
the [Monell ] holding to private corporations, as well.”
102 F.2d at 818 (quoting Harvey v. Harvey, 949 F.2d
1127 1129-30, (11th Cir.1992).)

It is only where the plaintiffs can show that the cor-
poration directly caused the constitutional violation by
instituting an official policy of some nature that was the
“direct cause” or “moving force” behind. the constitu-
tional violations that a corporation may be held liable
for the acts of its employees. See Auvaa, supra, (citing
Pembauer v. City of Cincinnati, 475 U.S. 469, 480-35,
106 S.Ct. 1292, 89 L.Ed.2d 452 (1986) and Ciny of Ok-
lahoma v. Tuttle, 471 U.S. 808 820, 105 S.Ct. 2427, 83
L.Ed.2d 791 (1985).) Plaintiffs here have not even al-
leged, let alone proven, that DPM has any such official
policy. Furthermore, Plaintiffs have provided no evid-
ence suggesting that such a policy was the direct or
moving force behind the alleged constitutional viola-
tions.

*10 For the foregoing reasons, the Court finds that
Plaintiffs’ Section 1983 claim against Due Process of
Michigan is without merit. Therefore, Defendants’ mo-
tion for summary judgment on this claim will be gran-
ted.

D. PLAINTIFFS HAVE FAILED TO MAKE OUT A
CLAIM OF VIOLATION OF THE MICHIGAN CON-
SUMER PROTECTION ACT

In Count III of their complaint, Plaintiffs allege that
Defendants (collectively) violated the Michigan Con-
sumer Protection Act, M.C.L. § 445.90} ef seg. “by en-

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gaging in harassing, abusive, oppressive, unfair, decept-
ive and misleading means to satisfy [a] money judgment
against Plaintiff Adams.”

The Michigan Consumer Protection Act (“MCPA”)
prohibits “unfair, unconscionable or deceptive, meth-
ods, acts or practices in the conduct of trade or com-
merce.” M.C.L. § 445.903, While the statute broadly
defines “trade or commerce” as “the conduct of a busi-
ness providing goods, property or services primarily for
personal, family, or household purposes,” M.C.L. §
445.902(d), it is clear that Defendants were not engaged
in providing Plaintiffs with “goods, property or services
primarily for personal, family or household purposes,”
so as to given them standing to sue Defendants under
the statute. As the Michigan Court of Appeals noted in
Zine v. Chrysler Corp., 236 Mich:App. 261, 271, 600
N.W.2d 384 (1999), “The intent of the [MCPA] is ‘to
protect consumers in their purchases of goods [or ser-.
vices} which are primarily used for personal, family or
household purposes.” fd. at 271, 600 N.W.2d 384
(quoting Noggles v. Battle Creek Wrecking, 153
Mich.App. 363, 367, 395 N.W.2d 322 (1986))
(emphasis added,). Plaintiffs were not engaged in the
purchase or lease of goods or services.

Furthermore, even if Plaintiffs do have standing to
sue under the Act for the actions complained of, only
the “unfair, conscionable, and deceptive” practices
defined in § 3 of the Act, M.C.L. § 445.903, are prohib-
ited, and even a cursory review of the 38 enumerated
prohibited activities in that section shows that none are
applicable to the debt collection actions at issue in this
case,

FN20. M.C.L. § 445.903 provides as follows:

(1) Unfair, unconscionable or deceptive
methods, acts, or practices in the conduct of
trade or commerce are unlawful and are
defined as follows:

(a) Causing a probability of confusion or
misunderstanding as to the source, sponsor-
ship, approval, or certification of goods or
services.

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(b} Using deceptive representations or de-
ceptive designations of geographic origin in
connection with goods or services.

(c) Representing that goods or services have
sponsorship, approval, characteristics, in-
gredients, uses, benefits, or quantities that
they do not have or that a person has spon-
sorship approval, status, affiliation, or con-
nection that he or she does not have.

{d) Representing that goods or services are
new if they are deteriorating, altered, recon-
ditioned, used or secondhand.

(e) Representing that goods or services are of
a particular standard, quality or grade, or that
goos are of a particular style or model, if
they are of another.

(f) Disparaging the goods, services, business,
or reputation of another by false or mislead-
ing representation of fact.

(2) Advertising or representing goods or ser-
vices with intent not to dispose of those
goods or services as advertised or represen-
ted.

(h) Advertising goods or services with intent
not to supply reasonably expectable public
demand, unless the advertisement discloses a
limitation of quantity in immediate conjunc-
tion with the advertised goods or services.

(i) Making false or mispeading statmemtns of
fact concerning the reason for, existence of,
or amounts of price reductions.

{j) Representing that a part, replacement, or
repair service is needed when it is not.

(k) Representing to a party to whom goods or
services are supplied that the goods or ser-
vices are being supplied in response to a re-
quest made by or on behalf of the party,
when they are not.

(1) Misrepresenting that because of some de-
fect in a consumer's home, the health, safety,
or lives of the consumer or his or her family
are in danger if the product or services are
not purchased, when in fact the defect does
not exist or the product or services would not
remove the danger.

(m) Causing a probability of confusion or of
misunderstanding with respect to the author-
ity of a salesperson, representative, or agent
to negotiate the final terms of a transaction.

(n) Causing a probability of confusion or of
misunderstanding as to the legal rights, ob-
ligations, or remedies of a party to a transac-
tion.

(o) Causing a probability of confusion or of
misunderstanding as to the terms or condi-
tions of credit if credit is extended in a trans-—
action.

(p) Disclaiming or limiting the implied war-
ranty of merchantability and fitness for use,
unless a disclaimer is clearly and conspicu-
ously disclosed.

(q) Representing or implying that the subject
of a consumer transaction will be provided
promptly, or at a specified time, or within a
reasonable time, if the merchant knows or
has reason to know it will not be so provided.

(r) Representing that a consumer will receive
goods or services “free” or “without charge”,
or using words of similar import in the rep-
resentation without clearly and conspicu-
ously disclosing with equal prominence in
immediate conjunction with the use of those
words the conditions, terms, or prerequisites
to the use or retention of the goods or ser-
vices advertised.

(s) Failing to reveal a material fact, the omis-
sion of which tends to mislead or deceive the
consumer, and which fact could not reason-

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ably be known by the consumer.

(t} Entering into a consumer transaction in
which the consumer waives or purports to
waive a right, benefit, or immunity provided
by law, unless the waiver is clearly stated
and the consumer has specifically consented
to it.

(vu) Failing, in a consumer transaction that is
rescinded, canceled, or otherwise terminated
in accordance with the terms of an agrec-
ment, advertisement, representation, or pro-
vision of law, to promptly restore to the per-
son or persons entitled to it a deposit, down
payment, or other payment, or int ch case of
property traded in but not available, the
greater of the agreed value or the fair market
value of the property, or to cancel within 2
specified time or an otherwise reasonable
time an acquired security interest.

(v) Taking or arranging for the consumer to
sign an acknowledgment, certificate, or other
writing affirming acceptance, delivery, com-
pliance with a requirement of law, or other
performance, if the merchant knows or has
reason to know that the statement is not true.

(w) Representing that a consumer will re-
ceive a rebate, discount, or other benefit as
an inducement for entering into a transaction,
if the benefit is contingent on an event to oc-
cur subsequent to the consummation of the
transaction.

(x) Taking advantage of the consumer's reas-
onably to protect his or her interests by reas-
on of disability, illiteracy, or inability to un-
derstand the language of an agreement
presented by the other party to the transac-
tion whe knows or reasonably should know
of the consumer's inability.

(y) Gross discrepancies between the oral rep-
resentations of the seller and the written

agreement covering the same transaction or
failure of the other party to the transaction to
provide the promised benefits.

(z) Charging the consumer a price that is
grossly in excess of the price at which simil-
ar property or services are sold.

(aa) Causing coercion and duress as the res-
ult of the time and nature of a sales presenta-
tion,

(bb) Making a representation of fact or state-
ment of fact material to the transaction such
that a person reasonably believes the repres-
ented or suggested state of affairs to be other
than it actually is.

cc) Failing to reveal facts that are material to
the transaction in light of representations of
fact made in a positive manner.

(dd) Subject to subdivision (ce), representa-
tions by the manufacturer of a product or
package that the product or package is
(degradable, biodegradable or photodegrad-
able].

(ee) Representing that a product or package
is degradable, biodegradable, or photode-
gradable unless it can be substantiated by
evidence that the product or package will
completely decompose into elements found
in nature within a reasonably short period of
time after consumers use the product and dis-
pose of the product or package in a landfill
or composting facility, as appropriate.

(ff) Offering a consumer a prize if in order to
claim the prize the consumer is required to
submit to a sales presentation, unless a writ-
ten disclosure is given to the consumer at the
time the consumer is notified of the prize and
the written disclosure meets all of the
[enumerated] requirements [in subparagraphs
(i)-(iv) regarding type style, description and
terms and conditions.]

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(gg) Violating 1971 PA 227, MCL 445.111-
445.117 in connection with a home solicita-
tion or telephone solicitation...

(hh} Except as provided in subsection (3), re-
quiring a consumer to disclose his or her so-
cial security number as a condition to selling
or leasing goods or providng a service to the
consumer [except in the listed limited cir-
cumstances in subparagraphs (i)-(v).

(ii} If a credit or debit card is used for pay-
ment in a consumer transaction, issuing or
delivering a receipt to the consumer that dis-
plays any part of the expiration date of the
card or more than the last 4 digits of the con-
sumer's account number [except in certain
specified limited circumstances].

jj. Violating section 11 of the identity theft
protection act, 2004 PA 452, MCL 445.71.

{kk} Advertising or conducting a live musical
performance or production in this stat
through the use of false, deceptive or mis-
leading affiliation, connection or association
between a performing group and a recording
group [except under the five limited circum-
stances provided in subparagraphs {i)-(v).

MAC.L.§ 445,903(1).

Furthermore, the practice of law is a “heavily regu-
lated” profession, The Michigan Supreme Court has es-
tablished the Attorney Grievance Commission under
M.C.R. 9.108, and the Attorney Discipline Board under
M.C:R. 9,110 to regulate the practice of law in this
State. As such, the practice of law is exempt from the
MCPA pursuant to the exemption in M.C.L. § 445.904
{1)(a), which provides:

(1) This Act does not apply to either of the following:

(a) a transaction or conduct specifically authorized
under laws administered by a regulatory board or
officer acting under statutory authority of this state
or the United States.

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The Michigan Supreme Court has determined that
the relevant inquiry under this exemption is whether the
general transaction is specifically authorized by law, re-
gardless of whether the specific misconduct alleged is
prohibited. See Liss v. Lewiston-Richards, Inc., 478
Mich. 203, 732 N.W.2d 514 (2007). Here, the general
transaction-the execution of an Order to Seize Property-
was specifically authorized by law. Therefore, pursuant
to Liss, the activities complained of which arise out of
the execution are exempt under § 445.904(1}(a).

*11 For all of these reasons, the Court concludes
that Plaintiffs have failed to state a legally cognizable
claim for violation of the Michigan Consumer Protec-
tion Act. Therefore, Count If of Plaintiffs' Complaint
will be dismissed, with prejudice.

E. MICHIGAN DOES NOT RECOGNIZE A CIVIL
CAUSE OF ACTION FOR “EXTORTION”

As an initial matter, the Court notes that “extortion”
is a criminal act under M.C.L. § 750.213. Michigan,
however, does not recognize a civil cause of action for
extortion. See Postell-Russel v. lnmont Corp, 691
F.Supp. 1, 13 (E.D.Mich.1988); Kaul v. Raina, 2004
WL 405920 at * 3 (Mich.App.2004); McLarnev v.
Board of Roud Commissioners for Macomb County,
2005 WL 3008591 at * 8 (E.D.Mich.2005). There being
no legally cognizable claim for extortion in Michigan,
Plaintiffs’ Count XIII claim for “extortion” will be dis-
missed.

F. THE TORT OF INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS HAS NOT BEEN ADOPTED
INTO MICHIGAN JURISPRUDENCE

Similarly, the Michigan Supreme Court has never
adopted the tort of intentional! infliction of emotional
distress into Michigan jurisprudence. See Smith v. Cal-
vary Christian Church, 462 Mich. 679, 686 n. 7, 614
N.W.2d 590, 593 n. 7 (2000); Roberts v. Auto Owners
Ins. Co., 422 Mich. 594, 602, 374 N.W.2d 905, 907
(1985); Khalifa v. Henry Ford Hospital, 156 Mich.App.
485, 499, 401 N.W.2d 884, 890 (1987), Andrews vy.
Prudential Securities, Inc. 160 F.3d 304, 309 (6th
Cir.1998). However, the Michigan Court has described
the standards that would have to be met for satisfaction
of such a claim:

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The cases thus far decided have found liability only
where the defendant's conduct had been extreme and

outrageous. It has not been enough that the defendant -

acted with an intent which is tortious or even crimin-
al, or that he had intended to inflict emotional dis-
tress, or even that his conduct has been characterized
by “malice”, or a degree of aggravation which would
entitle the plaintiff to punitive damages for another
tort. Liability has been found only where the conduct
has been so outrageous in character, and so extreme
in degree, as to go beyond all bounds of decency, and
to be regarded as atrocious, and utterly intolerable in
a civilized community. Generally, the case is one in
which the recitation of the facts to an average mem-
ber of the community would arouse his resentment
against the actor, and lead him to exclaim,
“Outrageous!”

The liability clearly does not extend to mere insults,
indignities, threats, annoyances, petty oppressions or
other trivialities, The rough edges of our society are
still in need of a good deal of filing down, and in the
meantime, plaintiffs must necessarily be expected and
required to be hardened to a certain amount of rough
language, and to occasional acts that are definitely in-
considerate and unkind. There is no occasion for the
law to intervene in every case where someone's feel-
ings are hurt. There must still be freedom to express
an unflattering opinion, and some safety valve must
be left through which irascible tempers may blow off
relatively harmless steam.

*12 Roberts v. Auto Owners, supra, 422 Mich. at
602-603, 374 N.W.2d 905, quoting Restatement 2d of
Torts, § 46, comment d.

Applying the standards enunciated by the Roberts
court, Plaintiffs' claim for intentional infliction of emo-
tional distress in this case fails. At best, here, we have
two Defendants-McKenna and Patterson-who went to
execute a duly-issued Court Order to Seize Property,
and in accordance with the specific directives contained
in that Order, demanded money and property te be
turned over to them to satisfy Plaintiff Adams' unpaid
judgment, There are no allegations of any physical re-
straint or abuse. Nor are there any allegations that De-

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fendants ransacked or even searched Plaintiffs’ property.
Plaintiffs complain only that Defendants “traumatized”
Plaintiff.Adams and her siblings (who are not parties to
this action, and hence, have no standing to complain of
Defendants’ conduct) by directing Plaintiff Adams and
her siblings to stay together in the kitchen area of the
house and threatened to arrest Plaintiff Adams if she did
not give them money to satisfy her indebtedness. These
actions simply do not amount to conduct “so outrageous
in character, and so extreme in degree, as to go beyond
alf bounds of decency, to be regarded as atrocious, and
utterly intolerable in a civilized community.” Accord-
ingly, Plaintiffs’ TED claim in Count X likewise will be
dismissed.

G. PLAINTIFFS’ CLAIM OF CONVERSION OF
MONEY SIMILARLY LACKS MERIT

Michigan defines the tort of conversion as “any dis-
tinct act of domain wrongfully exerted over another's
personal property in denial of or inconsistent with the
rights therein.” Foremost Ins. Co. v. Allstate Ins. Co.,
439 Mich. 378, 391, 486 N.W.2d 600 (1992) (emphasis
added). Plaintiffs have failed to make out a legally cog-
nizable claim of conversion here because they cannot
show that Defendants wrongfully took her money. De-
fendant McKenna was acting pursuant to a duly-issued
court order which directed him to “seize [Adams'] per-
sonal property ... includ[ing], but not limited to ...
money ” to satisfy the judgment.

Adams does not dispute that she stopped paying on
her car note, Nor does she dispute that her creditor sued
her ‘and obtained a default judgment in the amount of
$9,607.55. She does not dispute that she has not paid
what she owed on the judgment. She further does not
dispute that the Order to Seize Property was a validly
issued court order. Because Defendant McKenna seized
$600 from Adams pursuant to the court order directing
him to seize money to satisfy her indebtedness she can-
not be heard to argue that McKenna wrengfully took her
money. Under these circumstances, no action for con-
version will lie. Therefore, Plaintiffs' Count XII claim
for “conversion of money” will be dismissed.

H. PLAINTIFFS SIMILARLY CANNOT MAKE OUT A
CLAIM OF TRESPASS

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A trespass is an unauthorized invasion upon the
private property of another. Cloverleaf Car Co. y.
Phillips Petroleum Co., 213 Mich.App. 186, 195, 540
N.W.2d 297 (1995) (emphasis added). Just as Plaintiff
cannot show that Defendants wrongfully took her
money neither can she show that Defendant McKenna's
and Patterson's entry into her home was unauthorized.
As indicated, Defendants were acting pursuant to a duly
issued valid court order that commanded that Plaintiff
Adams' personal property and/or money be seized
“wherever located.”

*13 Furthermore, Plaintiff Adams admits she con-
sented and let McKenna and Patterson enter her house.
Although Plaintiff claims that she let Defendants into
the house because they said they were police officers,
even if fraudulently induced, where consent is given, no
claim for trespass will lie. See American Transmission
Ine. v. Channel 7 of Detroit, Inc., 239 Mich.App. 695,
708-9 & 0. 7, 609 N.W.2d 607. 614 & n. 7(2000); see.
also See also Baugh v. CBS, Inc., 828 F.Supp. 745, 757
(N.D.Cal., 1993) (“In a case where consent was fraudu-
lently induced, but consent was nonetheless given,
plaintiff has no claim for trespass.”); Martin v. Fidelity
& Casualty Co. of New York, 421 So.2d 109, 111 (Ala.,

1982) (* ‘[A]n action for trespass ... will not lie unless -

plaintiffs possession was intruded upon by defendant
without his consent, even though consent may have
been given under a mistake of facts, or procured by
fraud ....’ ") (citation omitted).

The authorities above make clear that no action for
trespass will lie under the circumstances presented in
this case. Therefore, Count VI will be dismissed.

I. PLAINTIFFS HAVE NOT MADE OUT 4 COGNIZ-
ABLE CLAIM OF INTRUSION

“Intrusion upon seclusion” is an invasion of privacy . -

tort. See Prosser, Torts 4th ed. § 117, To establish a
claim of intrusion, a. plaintiff must show: (1) an intra-
sion by the defendant, (2) into a matter which the
plaintiff has a right to keep private, (3) by the use of a
method which is objectionable te a reasonable person.
Duran v. The Detroit News, Inc, 200 Mich.App. 622,
634, 504 N.W.2d 715 (1993), The tort, thus, requires, at
a minimuin, the discovery by defendants of a secret or

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private matter, Hall v. Citizens Ins. Co. of America, 141
Mich.App. 676, 685 368 N.W.2d 250, 254 (1985).
Plaintiffs here have not alleged any such discovery by
Defendants. There is simply no factual support for this
claim. Therefore, Count XI will also be dismissed.

J. PLAINTIFFS HAVE COME FORWARD WITH NO
FACTS TO SUPPORT THEIR CLAIM OF ABUSE OF
PROCESS

in Count X of their Second Amended Complaint,
Plaintiffs allege a claim of abuse of process. “To recov-
er upon a theory of abuse of process, a plaintiff must
plead and prove (1) an ulterior purpose, and (2) an act
in the use of process which is improper in the regular
prosecution of the proceeding.” Friedinan v. Dozarc,
412 Mich. 1, 30, 312 N.W.2d 585 (1981). A meritorious
claim of abuse of process occurs in “a situation where
the defendant has used a proper legal procedure for a

- purpose collateral to the intended use of that proced-

ure.” Bonner vy. Chicage Title Ins. Co., 194 Mich.App.
462, 472, 487 N.W.2d 807 (1992). The plaintiff must
provide evidence of a “corroborating act that demon-
strates the ulterior purpose,” because “[a] bad motive
alone will not establish an abuse of process.” Jd. Here,
Plaintiffs. have not alleged, let alone proven, an ulterior
purpose on the part of Defendants. Therefore, they have
failed as a matter of law to establish a cognizable claim.
Count X, accordingly, will be dismissed.

FN21. Because the Court finds no legal merit
in any of the above-discussed state law claims,
Plaintiffs’ state law conspiracy claim (Count V}
predicated upon the substantively dismissed
claims will be dismissed, as well.

K. QUESTIONS OF FACT REMAIN AS DEFENDANTS
REZNICK'S AND DPM'S LIABILITY ON PLAINTIFFS'
CLAIMS OF FRAUD AND FALSE IMPRISONMENT

*14 The only common law claims alleged by
Plaintiffs that arguably have any factual support are
their claims for fraud and false imprisonment in Counts
VI and IX.

Actionable fraud consists of the following ele-
ments: (1} the defendant made a material representation;
(2) the representation was false; (3} when the defendant

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made the representation, the defendant knew that it was
false, or made it recklessly, without knowledge of its
truth and as a positive assertion; (4) the defendant made

the representation with the intention that the plaintiff .

would act upon it; (5) the plaintiff acted in reliance
upon it; and (6) the plaintiff suffered damage. Hi-Way
Motor Co. v. International Harvester Co., 398 Mich.
330, 336, 247 N.W.2d 813 (1976); Belle isle Grill Corp.
v. Detroit, 256 Mich.App. 463, 477, 666 N.W.2d 271
(2003) Fraud, however, must be established by clear
and convincing evidence, rather than a preponderance
of the evidence, and may never be presumed. Foodland
Distributors v. Al-Nainti, 220 Mich.App. 453, 457, 459,
559 N.W.2d 379 (1996). Each of these facts must be
proved with a reasonable degree of certainty, and all of
them must be found to ‘exist; the absence of any one of
them is fatal to a recovery. Hi-Way Motor Co., supra.

Plaintiffs here rely upon Defendants McKenna's
and Patterson's alleged misrepresentation that they were
“Sheriffs deputies.” See Plaintiffs’ Second Amended
Complaint, § 81. This, according to Plaintiffs “implfied]
that they [McKenna and Patterson} were on police busi-
ness,” fad. Plaintiffs state that Adams relied upon
this allegedly “false and material misrepresentation”

and let Defendants enter her house, to her detri-
ment, Adams Aff., Plaintiffs' Ex. 3, | 72.

FN22. Plaintiff Adams states in her affidavit
that McKenna and Patterson announced that
they were “police officers” and “[t]hinking
they were police officers on legitimate law en-
forcement business ... let them enter the home.”
Adams Aff., Plaintiffs’ Ex. 3, ff 4, 6.

FN23, Plaintiff also claims that Defendants
“falsely represented that their actions were law-
ful and that they could remove and confiscate
their property to satisfy Adams’ debt.” This,
however, is not a false misrepresentation as the
Order to Seize Property authorizes the removal
and confiscation of “personal property ... and
money.” Therefore, Plaintiffs may not-predic-
ate their fraud claim on this representation.

The elements of false imprisonment are (1) an act

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committed with the intention of confining another, (2)
the act directly or indirectly results in such confine-
ment, and (3) the person confined is conscious of his
confinement. Malsh v. Taylor, 263 Mich.App. 618,
627, 689 N.W.2d 506 (2004); Moore v. Detrott, 252
Mich.App. 384, 388, 652 N.W.2d 688 (2002), Brief
confinements or restraints, however, are insufficient to
establish false imprisonment. Jd. at 388, 652 N.W.2d
688. Plaintiffs here claim that Defendants are liable to
them for false imprisonment because McKenna and Pat-
terson ordered Plaintiff Adams and her siblings to stay
together in the kitchen area of the house until they
[Defendants] were through.

Defendants Reznick and Due Process of Michigan
argue that they cannot be held liable for Plaintiffs’ com-
mon law torts because neither Reznick nor DPM ex-
ecuted the writ and did not do anything to control or dir-
ect McKenna's and Patterson's actions. However,
Plaintiffs have come forward with some evidence-albeit
minimal-that suggests otherwise. Plaintiff Adams states
in her affidavit that McKenna told her that it was “their
[McKenna's and Patterson's] boss, Rob Reznick,” who
instructed them to get some money from her, Adams
Aff., § 8, and when negotiating with McKenna as to
payment, McKenna had to first “check with his boss,
Rob Reznick, before he could accept the offer of pay- -
ment by post-dated check.” Jd. at | 20, 652 N.W.2d 688
. Adams further states that McKenna then “called his
boss, Mr. Reznick,” who instructed McKenna to de-
mand a check for $400 (instead of the $300 amount that
McKenna allegedly originally demanded that a check be
written for, presumably, before Plaintiff made the. -
“post-dated” check offer.) /d. at ] 21, 652 N.W.2d 688.
Although both Reznick and McKenna deny that any
such phone call was made, the Court cannot decide
credibility issues in deciding a motion for summary
judgment.

*15 In any event, Adams’ affidavit testimony
demonstrates that issues of fact remain with respect to
the control exercised over McKenna's and Patterson's
actions by Defendant Reznick. Reznick owns Due Pro-
cess of Michigan and both McKenna and Patterson test-
ified that they worked as “independent contractors” for

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FN24 .
DPM, DPM also processes the collections made

by McKenna, handling the accounting and payments to
the creditors, and the post-execution payments made by
the debtors. Reznick's home address and his DPM Post
Office address are listed as the addresses for Defendant
McKenna on McKenna's Court Officer Agreement with
the 71-A District Court. Reznick and his DPM Post Of-
fice address are also listed on the “Receipt for Execu-
tion Against Property” given to Plaintiff Adams in this
case with instructions that post-execution payments on
her defaulted judgment were to be made to Reznick at
that DPM address, Furthermore, the 71-A District Court
court administrator testified that Orders to Seize Prop-
erty to be executed by McKenna were routinely placed
in a mailbox in the courthouse labeled “Due Process”
and Defendant Patterson testified that he picks up Or-
ders to Seize Property from the court for McKenna to
execute from that “Due Process” labeled box.

FN24. Although, as a general rule an employer ©

of an independent contractor is not liable for
torts committed by the contractor, Bosak v.
Hutchinson, 422 Mich. 712, 714, 375 N.W.2d
333 (1985), where the plaintiff can show that
the employer had the right to control the man-
ner and means pursuant to which the independ-
ent contractor performed his work, the employ-
er may be held liable for the contractor's acts
under a respondeat superior theory. See
Kamalnath v. Mercy Memorial Hosp. Corp.,
194 Mich.App. 543, 553, 487 N.W.2d 499
(1992).

Given the evidence showing the intertwining of
these process server defendants and because Plaintiffs
have produced some evidence suggesting that Defend-
ant Reznick exercised at least some minimal degree of
control over the execution conducted by McKenna and
Patterson, summary judgment in favor of Reznick and
DPM on the basis of no respondeat superior liability
would be inappropriate. Therefore, Defendants Reznick
and DPM's motion for summary judgment as to Counts
VII and IX will be denied,

L. PLAINTIFFS’ MOTION FOR SANCTIONS
Finally, the Court will address briefly Plaintiffs’

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motion for sanctions against Defendant Reznick and his
attorney. In Plaintiffs' Motion to Advise the Court
About Defendant Reznick's Conduct, Plaintiffs focus on
allegedly numerous complaints-made by other plaintiffs
in other actions, not any of the parties in this action-
against Defendant Reznick. Plaintiffs seek sanctions
against Reznick because he allegedly failed to disclose
in his interrogatory answers end deposition testimony
all of the lawsuits in which he has been named as a de-
fendant. Plaintiffs further criticize Reznick's attorney -
for giving them a supplemental list of lawsuits several
months after Reznick provided his original answers to
interrogatories seeking this information.

First of all, Reznick's attorney acted entirely in ac-
cordance with the Federal! Rules of Civil Procedure
which require supplementation of discovery responses
after initial responses are given when such supplement-
ation is called for. See Fed.R.Civ.P. 26(c). Therefore,
there is nothing sanctionable about his conduct. Second,
Plaintiffs suggest that Reznick lied when he failed to
identify every lawsuit in which he has been sued.
Plaintiffs have provided a list of cases they claim to
have discovered themselves in which they claim
Reznick was sued but failed to disclose these lawsuits to
them in discovery. However, the Court's own examina-
tion of the dockets of these various cases show that in a
number of them, Reznick was not sued; he was the
plaintiff. And in several others, though Reznick may
have been originally named in the complaints as a
party-defendant, he was never served. Hence, it would
not be unlikely that he did not know that he was sued in
those cases. In short, the Court sees nothing “fraudulent
or obstructionist” in Defendant's conduct.

*16 For these reasons, Plaintiffs' Motion for Sanc-
tions [Dkt. No. 81) will be denied.

CONCLUSION
For all of the reasons stated in this Opinion and Or-
der,

IT IS HEREBY ORDERED that Defendants Robert
Reznick's and Due Process of Michigan, Inc.'s Motion
for Summary Judgment [Dkt. # 95] is GRANTED, IN
PART, AND DENIED, IN PART. Defendants’ Motion

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is GRANTED, and all of Plaintiffs' claims against these
Defendants are DISMISSED except Plaintiffs’ Section
1983 claim against Defendant Reznick in Count I and
Plaintiffs’ claims of respondeat superior liability
against Defendants Reznick and Due Process of
Michigan on their state law fraud and false imprison-
ment claims in Counts VII and IX.

Accordingly, this case will proceed to trial on
Plaintiffs’ Section 1983 claim in Count I against De-
fendants McKenna, Patterson and Reznick; and
Plaintiffs' fraud and false imprisonment claims in
Counts VII and IX against Defendants McKenna, Pat-
terson, Reznick and Due Process of Michigan, Inc.

SO ORDERED.

E.D.Mich.,2008.

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